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  5
      Attorneys for Plaintiffs
  6   CITY OF HUNTINGTON BEACH, a California Charter City, and
      Municipal Corporation, HUNTINGTON BEACH CITY COUNCIL,
  7   HUNTINGTON BEACH POLICE DEPARTMENT, and the
  8   HUNTINGTON BEACH POLICE CHIEF
  9
                      UNITED STATES DISTRICT COURT
 10                  CENTRAL DISTRICT OF CALIFORNIA
 11
 12   CITY OF HUNTINGTON            CASE NO.
      BEACH, a California Charter   COMPLAINT FOR DECLARATORY
 13                                 AND INJUNCTIVE RELIEF
      City, HUNTINGTON BEACH
 14   CITY COUNCIL, HUNTINGTON 1. VIOLATION OF THE SUPREMECY
 15   BEACH POLICE DEPARTMENT,         CLAUSE – ARTICLE VI, CLAUSE 2
      and the HUNTINGTON BEACH         OF THE U.S. CONSTITUTION
 16
      POLICE CHIEF, in his official 2. VIOLATION OF THE
 17   capacity as Chief of Police,     NATURALIZATION CLAUSE –
                                             ARTICLE I, SECTION 8, CLAUSE 4
 18                                          OF THE U.S. CONSTITUTION
                   Plaintiffs,            3. VIOLATION OF U.S. FEDERAL
 19
                      v.                     IMMIGRATION LAWS – 8 U.S.C. §,
 20                                          1324
                                          4. VIOLATION OF U.S. FEDERAL
 21
      The STATE OF CALIFORNIA,               IMMIGRATION LAWS – 8 U.S.C. §
 22                                          1373
      GAVIN NEWSOM, in his official 5. VIOLATION OF U.S. FEDERAL
 23   capacity as Governor of the State      IMMIGRATION LAWS – 18 U.S.C. §§
 24   of California; ROBERT BONTA in         4, 371, 372
      his official capacity as Attorney   6. VIOLATION OF CALIFORNIA
 25   General of the State of California;    PENAL CODE §§ 31, 32
 26   and                                 7. VIOLATION OF CALIFORNIA
                                             CONSTITUTION – ARTICLE XX,
 27   DOES 1-50, inclusive,                  SECTION 3
 28              Defendants.                    DEMAND FOR JURY TRIAL


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  1                                 COMPLAINT
  2        CITY OF HUNTINGTON BEACH, a California Charter City, and
  3   Municipal Corporation, the HUNTINGTON BEACH CITY COUNCIL,
  4   the HUNTINGTON BEACH POLICE DEPARTMENT, and the
  5   HUNTINGTON BEACH POLICE CHIEF, in his official capacity as
  6   Chief of Police are all collectively hereinafter referred to together as
  7   the “City” or together as “Plaintiffs.”
  8        The City brings this lawsuit seeking Declaratory and Injunctive
  9   Relief (“Complaint”) against the STATE OF CALIFORNIA, GAVIN
 10   NEWSOM, in his official capacity as Governor of the State of
 11   California; ROBERT BONTA in his official capacity as Attorney
 12   General of the State of California; and DOES 1-50, inclusive (together
 13   as “Defendants”), for various violations of law and actual and
 14   threatened State enforcement actions against the City in violation of
 15   ARTICLE VI, CLAUSE 2 OF THE U.S. CONSTITUTION, ARTICLE I,
 16   SECTION 8, CLAUSE 4 OF THE U.S. CONSTITUTION, U.S.
 17   Federal Immigration Laws under 8 U.S.C. §§ 1324, 1325, & 1373,
 18   under 18 U.S.C. §§ 4, 371, and 372, and causing the City further
 19   thereby to violate California Penal Code §§ 31, 32, for Aiding and
 20   Abetting and Accessory After the Fact in the Commission of Federal
 21   crimes, and violations of City Officials’ Oath of Office pursuant to
 22   ARTICLE XX, SECTION 3 OF THE CALIFORNIA CONSTITUTION.
 23        By this Complaint, the City seeks Judicial Declaration
 24   invalidating, and an Injunction Order enjoining, California’s
 25   “Sanctuary State Law,” which includes, among other operative
 26   provisions, California Government Code §§ 7282.5, 7284.4, and
 27   7284.6, against the City, its Police Department, and all City Officials.
 28   The City avers the following upon personal knowledge, information,


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  1   and belief, and based upon the investigation of counsel as to all other
  2   facts alleged in this Complaint.
  3                                   INTRODUCTION
  4         As a matter of law, the State’s “Sanctuary State Law” is
  5   unconstitutional and violates other Federal laws; as a matter of
  6   enforcement policy, it is a clear and present danger to the health, safety
  7   and welfare of the City of Huntington Beach. According to the California
  8   Department of Justice, violent crime has risen in California by nearly
  9   20% since 2018 (3.3% in 2023, and 15.1% from 2018 to 2023) 1, and
 10   aggravated assaults, motor vehicle theft, robbery, and arson throughout
 11   the State have increased since 2018.
 12         The Nation has seen violent crime committed by illegal immigrants
 13   including MS-132 and Tren de Aragua gang members including widely
 14   reported rapes, murders, assaults, and other crimes.3 In addition, the
 15   reported violent crimes by illegal immigrants includes hostile take-overs
 16   by force of apartment buildings and other American establishments seen
 17   in Aurora, Colorado 4 and El Paso, Texas. 5 According to the U.S.
 18
 19   1
       https://data-openjustice.doj.ca.gov/sites/default/files/2024-
 20   07/Crime%20In%20CA%202023f.pdf
      2
       https://judiciary.house.gov/media/in-the-news/house-judiciary-report-faults-biden-
 21
      admin-release-alleged-ms-13-member-now
 22   3
       https://kfoxtv.com/news/instagram/report-tren-de-aragua-member-arrested-for-sex-
 23   trafficking-migrant-at-gateway-hotel-la-barbie-el-paso-texas-gang-estefania-
 24   primera-border-patrol-dps-border-migrants;                                    and
      https://www.foxnews.com/us/colorado-video-shows-tren-de-aragua-gang-beating-
 25   apartment-complex-worker-extortion-bid-company-says
 26   4
       https://kdvr.com/news/local/ice-16-detained-in-aurora-are-suspected-tren-de-
 27   aragua-associates
 28
      5
       https://kvia.com/news/border/2024/09/10/inside-a-downtown-el-paso-hotel-that-is-
      reportedly-housing-tren-de-aragua-gang-members/

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  1   Department of Homeland Security, California leads the nation with the
  2   highest illegal immigrant population of any other state – with 2,600,000
  3   in 2022. See Bryan Baker and Robert Warren, Office of Homeland
  4   Security Statistics, Estimates of the Unauthorized Immigrant Population
  5   Residing in the United States: January 2018–January 2022 (April 2024).6
  6         Data shows that the flow of mass illegal immigration creates
  7   human trafficking, including increasing a market in the United States
  8   for human trafficking – with “[t]he number of persons prosecuted for
  9   human trafficking more than doubled from 2012 to 2022. 7 In a recent
 10   report, the U.S. Congress noted that nearly 60,000 victims of human
 11   trafficking are trafficked into the U.S. annually. 8
 12         Human trafficking, which also results in sex trafficking, hurts
 13   women and children the most9 and over 320,000 immigrant children
 14   have gone missing in the United States. According to the Federal
 15   Government, those lost children are now completely unaccounted for and
 16   ///
 17   ///
 18
 19
 20   6
       https://ohss.dhs.gov/sites/default/files/2024-06/2024_0418_ohss_estimates-of-the-
      unauthorized-immigrant-population-residing-in-the-united-states-january-
 21
      2018%25E2%2580%2593january-2022.pdf
 22   7
       https://bjs.ojp.gov/library/publications/human-trafficking-data-collection-activities-
 23   2024#:~:text=The%20number%20of%20persons%20prosecuted,to%201%2C118%
 24   20persons%20in%202022; and https://kfoxtv.com/news/instagram/report-tren-de-
      aragua-member-arrested-for-sex-trafficking-migrant-at-gateway-hotel-la-barbie-el-
 25   paso-texas-gang-estefania-primera-border-patrol-dps-border-migrants
 26   8
       https://www.congress.gov/118/meeting/house/116344/documents/HHRG-118-
 27   JU08-20230913-SD003.pdf
 28
      9
       https://nypost.com/2021/04/17/how-bidens-border-policy-will-increase-child-sex-
      trafficking-to-us

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  1   unable to be protected.10 Lest it be forgotten, entering the United States
  2   illegally in the first place is a Federal crime. 8 U.S.C.§ 1325.
  3         Protecting the City’s 200,000 residents from crime and lawlessness
  4   is of the greatest import to, and of the highest order for, Huntington
  5   Beach’s City leaders and its Police Department. Huntington Beach is
  6   the 23rd largest of 482 cities in the State of California.
  7         The State’s relatively new “Sanctuary State Law” directly conflicts
  8   with U.S. Federal immigration laws, including but not limited to 8
  9   U.S.C. §§ 1324 and 1373, and 18 U.S.C. §§ 4, 371, and 372.
 10         California’s Sanctuary State Law not only limits the ability of City
 11   officials, including Huntington Beach Police personnel, to engage in
 12   fullest of effective law enforcement practices, but it directs City officials,
 13   including Huntington Beach Police personnel, to violate U.S. Federal
 14   immigration laws, including and among others, 8 U.S.C. §§ 1324 and
 15   1373, and 18 U.S.C. §§ 4, 371, and 372. In fact, the conflict of laws
 16   created by the State presents an untenable “Hobson’s Choice” for the
 17   City of Huntington Beach, e.g., comply with the State’s new Sanctuary
 18   State Law and violate U.S. Federal immigration laws, or comply with the
 19   Federal immigration laws, and violate the Sanctuary State Law. This
 20   conflict must be reconciled by this Court.
 21         At the passage of California’s Sanctuary State Law in 2017, NPR
 22   reported that the law “bans state and local agencies… from enforcing
 23   ‘holds’ on people in custody. It blocks the deputization of police as
 24   immigration agents and bars state and local law enforcement agencies
 25   from inquiring into an individual’s immigration status… It also
 26   prohibits new or expanded contracts with Federal agencies to use
 27
 28    https://nypost.com/2024/08/21/us-news/biden-harris-admin-loses-track-of-320000-
      10

      migrant-children

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  1   California law enforcement facilities as detention centers, although it
  2   does not force the termination of existing contracts. . . .”11 POLITICO
  3   reported that this new law limits “local law enforcement officials’ ability
  4   to cooperate with Federal immigration authorities. . . .” 12
  5         Huntington Beach is a City in the County of Orange. As will be
  6   presented in greater detail, infra, Sheriff Don Barnes reported that the
  7   Orange County Sheriff’s Department (hereinafter “OCSD”) is prohibited
  8   by State law to notify Immigration Control and Enforcement of the
  9   release of inmates with ICE detainers. In 2018, 1,106 inmates in Orange
 10   County who had ICE detainers but did not meet eligibility for notifying
 11   ICE were released into the community. 173 out of the 1,106 inmates
 12   were rearrested “in Orange County for committing 58 different types of
 13   crimes, including attempted murder, assault and battery, child
 14   molestation, and robbery.” In 2023, there were 547 inmates who had
 15   ICE detainers released from Orange County Jail. About 81 of those
 16   inmates eligible for notification and transfer to ICE’s custody were not
 17   transferred but were released into the community. A total of 40
 18   individuals were rearrested for committing new crimes in Orange
 19   County. Being prevented from coordinating with Federal agencies by the
 20   Sanctuary State Law prevents effective law enforcement, puts the
 21   community at risk, and as the data shows, leads to more crimes.
 22         In addition to commanding the City to violate U.S. Federal
 23   immigration laws, the State’s Sanctuary State Law forces City officials,
 24   including Huntington Beach Police personnel, to violate California Penal
 25
 26    https://www.npr.org/sections/thetwo-way/2017/10/05/555920658/california-
      11

 27   governor-signs-sanctuary-state-bill
 28
      12
         https://www.politico.com/story/2017/10/05/california-sanctuary-city-jerry-brown-
      signs-243503

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  1   Code §§ 31 and 32 for “aiding and abetting” and “accessory after the fact”
  2   in harboring, concealing, or protecting the perpetrator who committed a
  3   Federal crime. Moreover, the Sanctuary State Law forces City officials,
  4   including Huntington Beach Police personnel, to harbor, conceal, or
  5   “shield from detection” known unauthorized aliens in their custody. The
  6   Sanctuary State Law commands City officials, including Huntington
  7   Beach Police personnel, to turn a blind eye to alien smuggling, which in
  8   many cases, the individuals who were smuggled into the country would
  9   become victims of human trafficking.
 10         The State cannot force the City to violate U.S. Federal immigration
 11   laws that both the Ninth Circuit Court of Appeal and the United States
 12   Supreme Court have held preempted under the Supremacy Clause.
 13         To put a fine point, as a Charter City, Huntington Beach’s Police
 14   Department does not belong to the State. Rather, the Huntington Beach
 15   Police Department belongs to the City – and as such, the Police
 16   Department should be free from State interference and control. The City
 17   and its Police Department should be, therefore, entirely at liberty to
 18   employ every lawful means to combat crime and promote public safety for
 19   the City’s 200,000 residents.
 20         While the Federal Government cannot commandeer State and/or
 21   local resources to effectuate its operations or achieve its goals, local
 22   agencies, like Huntington Beach, should be at liberty to voluntarily
 23   cooperate with the Federal Government in its operations in order to
 24   combat local crime and promote local public safety.13 As it is now,
 25
 26
      13
        See Cal. ex. Rel. Becerra v. Sessions, 284 F. Supp.3d 1015, 1035 (Cal. N.D. 2018)
 27
      (“No cited authority holds that the scope of state sovereignty includes the power to
 28   forbid state or local employees from voluntarily complying with a federal
      program.”).

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  1   California’s Sanctuary State Law prevents such voluntary cooperation
  2   thereby preventing the City from employing every lawful means
  3   available to combat crime in Huntington Beach and forces City officials
  4   to violate U.S. Federal immigration laws. That the State can stand as a
  5   barrier in between the City and the Federal Government not only shocks
  6   the conscience, but it is also unconstitutional.
  7         The “Supremacy Clause” of the U.S. Constitution demands that the
  8   California Sanctuary State Law yield to the Federal Government and not
  9   act as a barrier for the enforcement of U.S. Federal immigration laws.
 10   By enacting its Sanctuary State Law, the State of California exceeded its
 11   authority and is unconstitutionally interfering with U.S. Federal
 12   immigration laws and the City’s Charter Home Rule authority.
 13         With no other remedy available at law, the City seeks Judicial
 14   Declaration invalidating, and an Injunction Order enjoining, the
 15   State’s enforcement of operative portions of California’s “Sanctuary
 16   State Law,” which includes, among others, California Government
 17   Code §§ 7282.5, 7284.4, and 7284.6, against the City Plaintiffs.
 18                                       PARTIES
 19         1.    Plaintiff CITY OF HUNTINGTON BEACH is and at all
 20   relevant times was a Municipal Corporation and Charter City14
 21   organized by the people of the City and existing under a freeholder’s
 22   charter and exercising “Home Rule” powers over its Municipal Affairs,
 23   including without limitation local law enforcement as authorized by
 24   Article XI, Section 5 of the California Constitution.
 25         2.    Plaintiff HUNTINGTON BEACH CITY COUNCIL (“City
 26   Council” or “Council Members”) is and at all relevant times the elected
 27
 28   14
         Online: Charter, City of Huntington Beach: https://library.qcode.us/lib/
      huntington_ beach_ca/pub/municipal_code/item/charter-preamble

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  1   body of seven members, elected by the People of the City pursuant to the
  2   Charter of the City of Huntington Beach. See Section 300, City
  3   Charter15.
  4           3.    Plaintiff HUNTINGTON BEACH POLICE DEPARTMENT
  5   (“HBPD”) is and at all relevant times the official local municipal law
  6   enforcement department of the City of Huntington Beach, organized as a
  7   Charter City pursuant to, and authorized as provided in Article XI,
  8   including §§ 3 and 5, of the California Constitution.
  9           4.    Plaintiff HUNTINGTON BEACH POLICE CHIEF (“HBPD
 10   Chief”) is the City Council duly appointed Chief of the Huntington Beach
 11   Police Department.
 12           5.    Defendant STATE OF CALIFORNIA is the State of
 13   California.
 14           6.    Defendant GAVIN NEWSOM (“Governor”) is and at all
 15   relevant times was the Governor of the State of California. He is being
 16   sued in his official capacity.
 17           7.    Defendant ROBERT BONTA (“Attorney General”) is and at
 18   all relevant times was the Attorney General of the State of California.
 19   He is being sued in his official capacity.
 20                              POTENTIAL PARTIES
 21           8.    The City is ignorant of the true names and capacities of those
 22   Defendants sued herein as DOES 1 through 50, inclusive, and therefore
 23   sue those Defendants by such fictitious names. City will amend this
 24   Complaint to allege the true names and capacities of these fictitiously
 25   named Defendants when the same have been ascertained.
 26
 27
 28   15
           https://ecode360.com/43806864#43806864

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 1        9.    There are several individuals and/or entities whose true
 2   names and capacities are currently not known to the City. Evidence may
 3   come forth that others are legally responsible and liable to the City to the
 4   extent of the liability of the named Defendants. The City will seek leave
 5   of the Court to amend this Complaint to reflect the names and capacities
 6   should they become known. The City reserves the right to amend this
 7   claim pursuant to Fed. R. Civ. P. 15(a) and Fed. R. Civ. P. 21 with leave
 8   of the Court to add potential additional defendants and additional
 9   allegations and claims.
10                          JURISDICTION AND VENUE
11        10.   This case presents Federal questions arising under the
12   Constitution of the United States and seeks relief for the deprivation of
13   Federal rights under color of state law. This Court accordingly has
14   subject-matter jurisdiction pursuant to 28 U.S.C. §§1331 and 1343.
15        11.   This Court has authority to award Plaintiffs declaratory relief
16   pursuant to 28 U.S.C. § 2201, and injunctive relief under 28 U.S.C. §§
17   1343 and 2202, and Rule 65 of the Federal Rules of Civil Procedure.
18        12.   Venue is proper in this District under 28 U.S.C. § 1391(b)
19   because a substantial part of the events or omissions giving rise to
20   Plaintiffs’ claims occurred in this District.
21                                 ALLEGATIONS
22        A.    Charter City Authority
23        13.   The City of Huntington Beach is a Municipal Corporation
24   formed by the people of the City of Huntington Beach as a “Charter City”
25   pursuant to California Constitution Article XI §§ 3 and 5.
26        14.    To compare, “general law” cities are “political subdivisions” of
27   the State and law generally holds that such cities must follow the
28   dictates of the State to execute functions of the State. Accordingly,


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 1   “political subdivision” is defined to mean “a geographic area of
 2   representation . . . including, but not limited to, a city, a school district, a
 3   community college district, or other district organized pursuant to state
 4   law.” Cal. Elect. Code § 14051(a).
 5         15.   Charter Cities on the other hand, being formed by the
 6   people of their city under the California Constitution (and not State law),
 7   are not political subdivisions of the State. To that end, both the
 8   California Constitution and case law hold that Charter Cities possess
 9   independent authority over Municipal Affairs – so “independent” as to be
10   free from State Legislative interference and control. See Cal. Const. art.
11   XI, § 5(a) (which expressly states, “City charters adopted pursuant to
12   this Constitution shall supersede any existing charter, and with
13   respect to municipal affairs shall supersede all laws inconsistent
14   therewith.” (emphasis added)).
15         16.   As the Court of Appeal recently stated, Charter Cities, like
16   Huntington Beach, “are distinct individual entities and are not connected
17   political subdivisions of the state.” Haytasingh v. City of San Diego, 66
18   Cal.App.5th 429, 459 (2021). The Court of Appeal explained that “‘It is
19   the free consent of the persons composing them that brings into existence
20   municipal corporations, and they are used for the promotion of their own
21   local and private advantage and convenience… Cities, therefore, are
22   distinct individual entities, and are not connected political subdivisions
23   of the state. As a matter of fact, municipalities, and particularly
24   charter cities, are in a sense independent political organizations
25   and do not pretend to exercise any functions of the state. They
26   exist in the main for the purposes of local government.’” Id.,
27   (emphasis added) (quoting Otis v. City of Los Angeles, 52 Cal.App.2d 605,
28   611-12 (1942)).


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 1           17.   In 2020, the State Court of Appeal recognized that Charter
 2   Cities, far from being creatures of the State, enjoy constitutionally
 3   recognized autonomy (Cal. Const. art. XI) and municipal authority over
 4   certain areas of governance that is “supreme and beyond the reach of
 5   legislative enactment.” City of Redondo Beach v. Padilla, 46 Cal.App.5th.
 6   902, 910 (2020) (relying on Cal. Const. art. XI).
 7           18.   After the California Constitution of 1879 was adopted, the
 8   Supreme Court of California declared it was “manifestly the intent” of
 9   the drafters “to emancipate municipal governments from the authority
10   and control formerly exercised over them by the Legislature.” Johnson v.
11   Bradley, 4 Cal.4th 389, 395 (1992) (quoting People v. Hoge, 55 Cal. 612,
12   618 (1880)).
13           19.   Article XI, section 5 of the California Constitution provides in
14   full:
15                 (a) It shall be competent in any city charter to provide
16                 that the city governed thereunder may make and
17                 enforce all ordinances and regulations in respect to
                   municipal affairs, subject only to restrictions and
18                 limitations provided in their several charters and in
19                 respect to other matters they shall be subject to general
                   laws. City charters adopted pursuant to this
20
                   Constitution shall supersede any existing charter, and
21                 with respect to municipal affairs shall supersede all
22                 laws inconsistent therewith.
23
                   (b) It shall be competent in all city charters to provide,
24                 in addition to those provisions allowable by this
25                 Constitution, and by the laws of the State for: (1) the
                   constitution, regulation, and government of the
26
                   city police force (2) subgovernment in all or part of a
27                 city (3) conduct of city elections and (4) plenary
28                 authority is hereby granted, subject only to the
                   restrictions of this article, to provide therein or by

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 1                amendment thereto, the manner in which, the method
 2                by which, the times at which, and the terms for which
                  the several municipal officers and employees whose
 3                compensation is paid by the city shall be elected or
 4                appointed, and for their removal, and for their
 5                compensation, and for the number of deputies, clerks
                  and other employees that each shall have, and for the
 6                compensation, method of appointment, qualifications,
 7                tenure of office and removal of such deputies, clerks and
                  other employees.
 8
 9   Cal. Const. art. XI, § 5 (emphasis added).
10         20.    The California Supreme Court has explained that § 5(a) of
11   Article XI of the California Constitution provides that a Charter City
12   shall not be governed by State law in respect to “Municipal Affairs.”
13   Rather, “so far as ‘Municipal Affairs’ are concerned,” Charter Cities’ laws
14   are “supreme and beyond the reach of [State] legislative enactment.”
15   California Fed. Savings & Loan Assn. v. City of Los Angeles 35 Cal.3d 1,
16   12 (1991).
17         21.    One of the “core” categories of Municipal Affairs that is
18   specifically described in Article XI, § 5(b) is “the constitution, regulation
19   and government of the city police department.” Cal. Const. art. XI, §
20   5(b)(1).
21         22.    The “Home Rule” provision of the California Constitution
22   authorizes a Charter City to exercise plenary authority over Municipal
23   Affairs, free from any constraint imposed by the general law and subject
24   only to constitutional limitations. See Cal. Const. art. XI, § 5(a); Ex Parte
25   Braun, 141 Cal. 204, 209 (1903); Bishop v. City of San Jose, 1 Cal. 3d 56,
26   61 (1969); Comm. of Seven Thousand v. Super. Ct. (City of Irvine), 45
27   Cal.3d 491 (1988).
28


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 1         23.   As a Charter City, the City of Huntington Beach has supreme
 2   authority over its city police force. Cal. Const. art. XI, § 5(b).
 3         24.   As a Charter City particularly, the City’s Police Department
 4   does not belong to the State, rather, it belongs to the City – and as such,
 5   is free from State interference and control. The City’s Police Department
 6   engages in local arrests and investigations as Municipal Affairs.
 7         25.   The independence and Home Rule authority the Constitution
 8   provides to Huntington Beach means that the City and its Police
 9   Department are, among many other things, at liberty to conduct effective
10   law enforcement practices, including fighting violent crime by all means
11   available, and “free” to comply with Federal laws in addition to its local
12   laws; “free” from State interference.
13         26.   The City of Huntington Beach has a duty to protect the
14   health, safety, and welfare of its residents. Part of that duty is to ensure
15   that the police officers have the ability to investigate crimes before it
16   occurs, and arrest and detain individuals who committed those crimes,
17   including incidents involving unauthorized aliens. Part of that duty
18   necessarily involves coordinating with other agencies, whether County,
19   State, or Federal for full enforcement of the laws.
20         27.   Article XX, § 3 of the California Constitution provides the
21   Oath of Office that certain City officials, including elected officials and
22   police officers, are required to take in order to be fully vested with
23   authority for the office they are to assume. Cal. Const. art. XX, § 3.
24         28.   The Constitutionally required Oath of Office states “I,
25   ___________, do solemnly swear (or affirm) that I will support and defend
26   the Constitution of the United States and the Constitution of the State of
27   California against all enemies, foreign and domestic; that I will bear true
28   faith and allegiance to the Constitution of the United States and the


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 1   Constitution of the State of California; that I take this obligation freely,
 2   without any mental reservation or purpose of evasion; and that I will
 3   well and faithfully discharge the duties upon which I am about to enter.”
 4         29.   The Sanctuary State Law forces the City’s officials, including
 5   Huntington Beach Police personnel, to violate U.S. Federal immigration
 6   laws, in violation of the California Constitution’s Oath of Office.
 7         B.    The Sanctuary State Law
 8         30.   In 2017, the State of California enacted the “Sanctuary State
 9   Law,” presented then as the “California Values Act of 2017.” The
10   Legislative Bill at the time was commonly known as “Senate Bill 54” or
11   “California’s Sanctuary State Law” (hereinafter “Sanctuary State Law”).
12         31.   The Sanctuary State Law is unconstitutional. See U.S. Const.
13   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; 8 U.S.C. §§ 1324, 1325, 1373; 18
14   U.S.C. §§ 4, 371, 372; see also, Cal. Const. art. XI, § 5; Cal. Const. art.
15   XX, § 3.
16         32.   The Sanctuary State Law violates the City’s right to fully
17   control its own Police Department and fully and effectively engage in law
18   enforcement. Moreover, neither the State, nor its laws, may prevent the
19   City of Huntington Beach from honoring, following, and/or complying
20   with State and all Federal laws, including Federal laws on immigration,
21   which is the supreme law of the land on immigration.
22         33.   The Sanctuary State Law violates the City’s right to fully
23   control its own Police Department and fully and effectively engage in law
24   enforcement. Specifically, California Government Code §§ 7282.5,
25   7284.4, 7284.6, 7285.1, and 7285.2 prohibit local law enforcement officers
26   to cooperate with the Federal Government in criminal immigration
27   investigation.
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 1         34.    The Sanctuary State Law bars local jurisdiction from
 2   complying with 8 U.S.C. § 1324 or participate in a joint task force that
 3   may involve immigration enforcement. See Cal. Gov. Code §§ 7282.5,
 4   7282.4 7284.6, 7285.1, 7285.2.
 5         35.    California Government Code §§ 7282.4 and 7282.5 restrict
 6   cooperation between local law enforcement agencies and the Federal
 7   Government.
 8         36.    The Sanctuary State Law allows for smugglers to transport
 9   individuals into the United States in violation of 8 U.S.C. § 1324 for
10   financial gain.
11         37.    The Sanctuary State Law places aliens at risk of harm or
12   being trafficked because California Law Enforcement Agencies cannot
13   engage in the enforcement of 8 U.S.C. § 1324.
14         38.    The Sanctuary State Law prohibits local law enforcement
15   agencies from asking employers about a person’s immigration status
16   under 8 U.S.C. § 1324(a)(3). See Cal. Gov. Code § 7284.6(a)(1)(A).
17         39.    In recent years, Defendant Governor Gavin Newsom has
18   taken a series of substantial steps to incentivize the inflow of illegal
19   immigration into California, and to protect and harbor illegal
20   immigrants, with the implementing of policies and laws to hire illegal
21   immigrants in jobs in State government.16
22         40.    Defendant Governor Gavin Newsom also has a new program
23   to give illegal immigrants taxpayer funded downpayments of $150,000 to
24   buy homes. 17 Defendant Newsom is doing more than simply turning a
25
26    https://reformcalifornia.org/news/reform-california-slams-bill-to-hire-illegal-
     16

27   immigrants-in-ca-state-government
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     17
       https://www.hoover.org/research/californias-one-party-state-and-housing-
     subsidies-undocumented-migrants

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 1   blind eye, he is aggressively pursuing policies with taxpayer funds to
 2   incentivize illegal immigrants to relocate to his Sanctuary State.
 3         41.   In 2024, Defendant Governor Gavin Newsom launched a
 4   program for California to spend $2.3 million of taxpayer money to
 5   support the relocating and settling of illegal immigrants in rural areas of
 6   the State. 18 Defendant Newsom is aggressively pursuing policies to
 7   commit taxpayer funds to protecting illegal immigrants.
 8         42.   In August of 2024, Defendant Governor Gavin Newsom
 9   launched another program to offer illegal immigrants home mortgage aid
10   to buy homes.19 Defendant Newsom is doing more than simply sitting on
11   the sidelines, he is aggressively pursuing policies with taxpayer funds to
12   incentivize illegal immigrants to relocate to his Sanctuary State.
13         43.   Most recently, Defendant Governor Gavin Newsom
14   established a $25 million taxpayer funded legal defense fund for illegal
15   immigrants to fight the Federal government’s announced crackdown on
16   illegal immigration, which seeks to combat the violent crimes committed
17   against U.S. citizens.20
18         44.   In response to the November 5th election of Donald J. Trump
19   as President of the United States, and with his nomination of Tom
20   Homan as “Border Czar,” Defendant Governor Gavin Newsom convened
21
22
23
24
      https://business.ca.gov/supporting-californias-rural-communities-2-3-million-in-
     18
25   grants-to-further-expand-immigrant-integration-in-rural-regions
26    https://www.latimes.com/california/story/2024-08-29/california-lawmakers-
     19

27   approve-home-mortgage-aid-to-undocumented-immigrants
28    https://www.nationalreview.com/news/california-governor-newsom-requests-25-
     20

     million-from-legislature-for-anti-trump-litigation-fund

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 1   the State Legislature in a Special Session to develop an “Immigrant
 2   Support Plan” designed to counter “Trump deportations.” 21
 3         45.   It was widely reported that “Gavin Newsom’s administration
 4   is drafting a potential plan to help undocumented immigrants who may
 5   be threatened by incoming President Donald Trump’s mass deportation
 6   threats.” Id.
 7         46.   According to POLITICO, a draft of Defendant Gavin
 8   Newsom’s plan entitled “Immigrant Support Network Concept” proposes
 9   the “creation of an Immigrant Support Network comprised of regional
10   ‘hubs’ to connect at-risk individuals, their families, and communities
11   with community systems — such as legal services, schools, labor unions,
12   local governments, etc.” Id. (emphasis added). Clearly, Defendant
13   Gavin Newsom plans to further commandeer local governments to act in
14   violation of U.S. Federal immigration laws in the near future.
15         47.   In addition, on December 17, 2024, Defendant Attorney
16   General Robert Bonta issued a Press Release advising illegal immigrants
17   the ways in which his office, and the State, were going to assist in
18   shielding illegal immigrants – “threats of mass detention, arrests, and
19   deportation”22 – from detection and detention by the Federal
20   Government. In that Press Release, Robert Bonta directly advised that
21   “You have the right to apply for and secure housing without sharing your
22   immigration status,” and “You have the right to an attorney.”
23         48.   In that same Press Release, Defendant Robert Bonta stated,
24   “State and local law enforcement cannot ask for your immigration
25
26
      https://www.politico.com/news/2024/12/24/newsom-california-immigrants-trump-
     21

27   00195984
28    https://oag.ca.gov/news/press-releases/attorney-general-bonta-reminds-california-
     22

     immigrants-their-rights-and

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 1   status” and “State and local law enforcement cannot share your personal
 2   information” and “State and local law enforcement cannot assist ICE
 3   with immigration enforcement.” Not only is what appears in the
 4   statement a violation of U.S. Federal immigration law, but his statement
 5   also indicates a systematic program by the State to shield illegal
 6   immigrants in response to “the President-elect making clear his intent to
 7   move forward an inhumane and destructive immigration agenda once he
 8   takes office.” Defendant Robert Bonta’s statements make clear that his
 9   systematic program to protect illegal immigrants conflicts with the U.S.
10   Federal immigration laws and Federal Government operations.
11            C.    Federal Authorities
12                  1.   U.S. Immigration Laws
13            49.   Article I, Section 8, Clause 4 of the U.S. Constitution provides
14   Congress with the “power… To establish a uniform Rule of
15   Naturalization… throughout the United States.” U.S. Const. art. I, § 8,
16   cl. 4.
17            50.   In addition to conferring Congress with power to determine
18   when foreign nationals may obtain U.S. citizenship, the Naturalization
19   Clause is sometimes viewed as contributing to Congress’s power over
20   immigration, including its power to set rules for when aliens may enter
21   or remain in the United States.
22            51.   In Arizona v. United States, 567 U.S. 387 (2012), the Supreme
23   Court declared that the Federal Government’s “broad, undoubted power”
24   over immigration was partially based “on the national government’s
25   constitutional power to ‘establish a uniform Rule of Naturalization,’ and
26   its inherent power as sovereign to control and conduct relations with
27   foreign nations.” Id. at 394–95 (quoting U.S. Const. art. I, § 8, cl. 4).
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 1         52.   In Harisiades v. Shaughnessy, 342 U.S. 580 (1952), the
 2   Supreme Court observed that “[t]he power of Congress to exclude, admit,
 3   or deport aliens flows from sovereignty itself and from the power ‘To
 4   establish an uniform Rule of Naturalization.’” Id. at 599 (quoting U.S.
 5   Const. art. I, § 8, cl. 4); see also INS v. Chadha, 462 U.S. 919, 940
 6   (1983) (“The plenary authority of Congress over aliens under Art. I, § 8,
 7   cl. 4 is not open to question”); Toll v. Moreno, 458 U.S. 1, 10
 8   (1982) (“Federal authority to regulate the status of aliens derives from
 9   various sources, including the Federal Government’s power ‘[to] establish
10   [a] uniform Rule of Naturalization’…”) (quoting U.S. Const. art. I, § 8, cl.
11   4); Mathews v. Diaz, 426 U.S. 67, 79–80 (1976) (“In the exercise of its
12   broad power over naturalization and immigration, Congress regularly
13   makes rules that would be unacceptable if applied to citizens.”).
14         53.   Apart from the Naturalization Clause, the Supreme Court
15   has cited Congress’s foreign commerce power as a basis for its
16   immigration power. See Toll, 458 U.S. at 10 (observing that Congress’s
17   immigration power also derives from “its power ‘[t]o regulate Commerce
18   with foreign Nations,’ and its broad authority over foreign affairs”)
19   (citing U.S. Const. art. I, § 8, cl. 3); United States ex rel. Turner v.
20   Williams, 194 U.S. 279, 290 (1904) (recognizing that an immigration
21   statute was based in part “on the power to regulate commerce with
22   foreign nations, which includes the entrance of ships, the importation of
23   goods, and the bringing of persons into the ports of the United
24   States”); Edye v. Robertson, 112 U.S. 580, 600 (1884) (“It is enough to say
25   that, Congress having the power to pass a law regulating immigration as
26   a part of the commerce of this country with foreign nations, we see
27   nothing in the statute by which it has here exercised that power
28   forbidden by any other part of the Constitution.”).


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 1            54.   In 1986, Congress enacted the Immigration and
 2   Naturalization Act (hereinafter “INA”). 8 U.S.C. §§ 1101-1537. Title 8,
 3   U.S.C. § 1324, was enacted to combat human smugglers who commit the
 4   crime by “bringing people into the United States, or unlawfully
 5   transporting and harboring people already in the United States, in
 6   deliberate evasion of immigration law.” 23
 7            55.   In part, 8 U.S.C. § 1324 makes it a Federal crime for any
 8   person to “knowing that a person is an alien, brings to or attempts to
 9   bring to the United States in any manner whatsoever such person at a
10   place other than a designated port of entry or place other than as
11   designated by the Commissioner, regardless of whether such alien has
12   received prior official authorization to come to, enter, or reside in the
13   United States and regardless of any future official action which may be
14   taken with respect to such alien” 8 U.S.C. § 1324(a)(1)(A)(i).
15            56.   Title 8, U.S.C. § 1324 also makes it a Federal crime for any
16   person to “knowing or in reckless disregard of the fact that an alien has
17   come to, entered, or remains in the United States in violation of law,
18   conceals, harbors, or shields from detection, or attempts to conceal,
19   harbor, or shield from detection, such alien in any place, including any
20   building or any means of transportation” 8 U.S.C. § 1324(a)(1)(A)(iii).
21            57.   And, 8 U.S.C. § 1324 makes it a Federal crime for any person
22   to “knowingly hires for employment at least 10 individuals with actual
23   knowledge that the individuals are aliens described in subparagraph
24   (B).” 8 U.S.C. § 1324(a)(3).
25            58.    Title 8, U.S.C. § 1373(a) provides, “Notwithstanding any
26   other provision of Federal, State, or local law, a Federal State, or local
27   government entity or official from sending to, or receiving from, the
28
     23
          https://crsreports.congress.gov/product/pdf/IF/IF12539
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 1   Immigration and Naturalization Service information regarding the
 2   citizenship or immigration status, lawful or unlawful, of any individual.”
 3   8 U.S.C. § 1373(a).
 4        59.   Title 18, U.S.C. § 4 provides, “Whoever, having knowledge of
 5   the actual commission of a felony cognizable by a court of the United
 6   States, conceals and does not as soon as possible make known the same
 7   to some judge or other person in civil or military authority under the
 8   United States, shall be fined under this title or imprisoned not more
 9   than three years, or both.” 18 U.S.C. § 4.
10        60.    Title 18, U.S.C. § 371 provides, “If two or more persons
11   conspire to either commit any offense against the United States, or to
12   defraud the United States, or any agency thereof in any manner or for
13   any purpose…each shall be fined under this title or imprisoned not more
14   than five years, or both.” 18 U.S.C. § 371.
15        61.   Title 18, U.S.C. § 372 provides, “If two or more
16   persons…conspire to prevent, by force, intimidation, or threat, any
17   person from accepting or holding any office, trust, or place of confidence
18   under the United States…or impede him in the discharge of his official
19   duties, each of such persons shall be fined under this title or imprisoned
20   not more than six years, or both.” 18 U.S.C. § 372.
21        62.   The 10th Amendment of the U.S. Constitution holds that the
22   Federal Government may not commandeer State or local resources to
23   administer or enforce a Federal regulatory program against the will of
24   the State or local resources.
25        63.   The 10th Amendment, however, does not allow a State or its
26   officials or its resources to violate Federal laws, including U.S. Federal
27   immigration laws.
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 1         64.   The 10th Amendment also does not allow a State to direct a
 2   city or its local officials or its resources to violate Federal laws, including
 3   U.S. Federal immigration laws.
 4         65.   And while the 10th Amendment holds that the Federal
 5   Government may not commandeer State and local resources against
 6   their will to act at the Federal Government’s behest, there is nothing,
 7   including the 10th Amendment itself, that prevents State or local officials
 8   or local resources from voluntarily cooperating with the Federal
 9   Government in the administration or enforcement of a Federal
10   regulatory program, including U.S. Federal immigration laws. See Cal.
11   ex. Rel. Becerra v. Sessions, 284 F. Supp.3d at 1035 (“No cited authority
12   holds that the scope of state sovereignty includes the power to forbid
13   state or local employees from voluntarily complying with a Federal
14   program.”).
15         66.   “Anti-commandeering” under the 10th Amendment is not a
16   barrier to a local jurisdiction’s voluntary cooperation with the Federal
17   Government in the administration or enforcement of a Federal
18   regulatory program, including U.S. Federal immigration laws. See City
19   of New York v. United States, 179 F.3d 29, 35 (2d Cir. 1999) (rejecting the
20   city’s argument to turn the 10th Amendment “into a sword allowing
21   states and localities to engage in passive resistance that frustrates
22   Federal programs.”).
23               2.   Supremacy Clause of the U.S. Constitution
24         67.   Article VI, Clause 2 of the U.S. Constitution is known as the
25   “Supremacy Clause.” The Supremacy Clause holds that Federal law
26   prevails over any conflicting state laws, including immigration laws.
27         68.   The Supremacy Clause mandates that “[t]his Constitution,
28   and the Laws of the United States which shall be made in Pursuance


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 1   thereof . . . shall be the supreme Law of the Land . . . any Thing in the
 2   Constitution or Laws of any State to the Contrary notwithstanding.” U.S.
 3   Const. art. VI, cl. 2.
 4            69.   The Supremacy Clause “prohibit[s] States from interfering
 5   with or controlling the operations of the Federal Government.” Geo
 6   Group, Inc. v. Newsom, 50 F.4th 745, 750 (9th Cir. 2022) (quoting United
 7   States v. Washington, 142 S. Ct. 1976, 1984 (2022)).
 8            70.   The Constitution affords Congress the power to “establish an
 9   uniform Rule of Naturalization,” and to “dispose of and make all needful
10   Rules and Regulations respecting the Territory or other Property
11   belonging to the United States.” U.S. Const. art. IV, § 3. The
12   Constitution also affords the President of the United States the authority
13   to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, §
14   3.
15            71.   The Federal Government has the preeminent role to regulate
16   aliens entering the United States and within its borders. U.S. Const.
17   art. I, § 8, cl. 4; U.S. Const. art. I § 8, cl. 3.
18            72.   In U.S. v. King County, et al., 2024 U.S. App. LEXIS 30299
19   (9th Cir. Nov. 29, 2024), the Ninth Circuit wrote “In recognition of the
20   Federal government’s independence from state control, the
21   intergovernmental immunity doctrine prohibits states from ‘interfering
22   with or controlling the operations of the Federal Government.’” Id. at
23   *27.24
24            73.   Recent California legislation that sought to interfere with the
25   Federal Government’s immigration enforcement efforts was struck down
26   as unconstitutional “Whether analyzed under intergovernmental
27
28   24
          https://cdn.ca9.uscourts.gov/datastore/opinions/2024/11/29/23-35362.pdf

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 1   immunity or preemption, California cannot exert this level of control
 2   over the Federal government’s detention operations… AB 32 therefore
 3   violates the Supremacy Clause.” Geo Group, Inc., 50 F.4th at 751.
 4         74.   “Any state regulation that purports to override the Federal
 5   government’s decisions about who will carry out Federal functions runs
 6   afoul of the Supremacy Clause.” Geo Group, Inc., 50 F.4th at 750. By
 7   purporting to prevent the City of Huntington Beach from voluntarily
 8   cooperating with the Federal Government, and by purporting to prevent
 9   the City of Huntington Beach from complying with Federal immigration
10   laws under 8 U.S.C § 1324, California’s Sanctuary State Law runs afoul
11   of the Supremacy Clause.
12         75.   A state enactment is unconstitutional if it is an “‘obstacle to
13   the accomplishment and execution of the full purposes and objectives of
14   Congress.’” Toll, 458 U.S. at 36 (quoting Hines v. Davidowitz, 312 U.S.
15   52, 67 (1941)).
16         76.   The United States Government has broad authority to
17   establish immigration laws, which cannot be hindered or obstructed by
18   state law. Arizona v. United States, 567 U.S. at 394-95. “Effective
19   immigration law enforcement requires a cooperative effort between all
20   levels of government.” City of New York v. United States, 179 F.3d at 32-
21   33.
22         77.   “The ‘[p]ower to regulate immigration is unquestionably
23   exclusively a Federal power.’” De Canas v. Bica, 424 U.S. 351, 354 (1976)
24   (superseded by statute as stated in Me. Forest Prods. Council v. Cormier,
25   586 F. Supp. 3d 22, 39 (Dist. Maine 2022)).
26         78.   “[T]he Executive has very broad discretion to determine
27   immigration enforcement priorities.” Arizona Dream Act Coal. v. Brewer,
28   855 F.3d 957, 967 (9th Cir. 2017). “Congress expressly charged the


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 1   Department of Homeland Security with the responsibility of
 2   ‘[e]stablishing national immigration enforcement policies and priorities.’”
 3   Id. at 967 (quoting 6 U.S.C § 202(5)). Under President Joe Biden’s
 4   Administration, the Department of Homeland Security prioritized the
 5   arrest and removal of aliens who poses threat to national security, threat
 6   to public safety, and threat to border security “or who have unlawfully
 7   entered the country only recently.” United States v. Texas, 599 U.S. 670,
 8   673 (2023).25
 9            79.   The U.S. Supreme Court held that Congress intended to
10   preempt the field of immigration. Arizona v. United States, 567 U.S. at
11   399. Field pre-emption is the intent to displace state law that is so
12   pervasive that Congress left no room for the state to supplement it or
13   that a Federal interest is so dominant that it will be assumed that state
14   enforcement is precluded. Id.
15            80.   In Valle Del Sol Inc. v. Whiting, 732 F.3d 1006 (9th Cir. 2019),
16   the Ninth Circuit Court of Appeal held that 8 U.S.C. § 1324 preempted
17   state law and that the Federal scheme “reserves prosecutorial power,
18   and thus discretion, over harboring violations to Federal prosecutors.”
19   Id. at 1027.
20            81.   In an opinion by the California Attorney General in 1992
21   examining a California city’s local sanctuary ordinance, the Attorney
22   General stated that sanctuary law is preempted by 8 U.S.C. § 1324. CA
23   Attorney General Opinions, 75 Ops. Cal. Atty. Gen. 270 (Nov. 19,
24   1992).26 The California Attorney General concluded, “Due to the
25   supremacy clause of the United States Constitution, a city may not
26
27   25
          https://www.ice.gov/doclib/news/guidelines-civilimmigrationlaw.pdf
28   26
          https://oag.ca.gov/system/files/opinions/pdfs/92-607.pdf

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 1   prohibit its officers and employees from cooperating in their official
 2   capacities with Immigration and Naturalization Service investigation,
 3   detention, or arrest procedures relating to alleged violations of the civil
 4   provisions of the Federal immigration laws.” Id. at *1.
 5         82.   The Attorney General further stated that “[w]hen a peace
 6   officer lawfully comes across information in the course of investigating a
 7   crime which reasonably leads to the belief that the person arrested is
 8   illegally present in this country, neither the state nor Federal
 9   Constitution prevents the officer from advising the INS of such
10   information. Id. (citing Gates v. Superior Court, 193 Cal.App.3d 205, 219
11   (1987)).
12         83.   The California Attorney General concluded that the
13   sanctuary city ordinance conflicts with Federal law because it would
14   “undermine the deterrent effect of the criminal or civil penalties
15   contained in the [Immigration and Naturalization] Act.” CA Attorney
16   General Opinions, 75 Ops. Cal. Atty. Gen. at *2; see Gates v. Superior
17   Court, 193 Cal.App.3d at 219 (“Where otherwise warranted investigation
18   by local officers leads to evidence of a Federal civil or criminal violation,
19   the local authority has the right to exchange information with Federal
20   authorities; to deny such an exchange is not reasonable and rewards
21   those Federal violators fortunate enough to be arrested by local, rather
22   than Federal, officials.”).
23         84.   The California Attorney General also stated, “The
24   Immigration and Naturalization Act is the law of this land and it is the
25   ‘act of responsible citizenship’ and the ‘duty’ and the right of every citizen
26   to assist in prosecuting and securing punishment for its breach by giving
27   whatever information he or she may have in that regard to aid those who
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 1   enforce it.” CA Attorney General Opinions, 75 Ops. Cal. Atty. Gen. at *2
 2   (quoting 67 Ops. Cal. Atty. Gen. 331, *12-13 (July 24, 1984).27
 3            85.   Additionally, the California Attorney General, concluded in a
 4   1984 opinion that, while local authorities are under no legally
 5   enforceable duty to report to the INS information about persons who
 6   entered the country in violation of 8 U.S.C § 1324, they may do so “as a
 7   matter of comity and good citizenship.” See 67 Ops. Cal. Atty. Gen. at
 8   *3.28
 9            86.   The California Attorney General further stated that
10   “Congress surely did not intend that state and local governments would
11   undermine the deterrent effect of the criminal or civil penalties
12   contained in the [Immigration Control Act]. By giving the impression
13   that illegal aliens may obtain refuge from such penalties in a particular
14   locale, the ordinance creates localized immigration policy and dissipates
15   enforcement of Federal laws.” CA Attorney General Opinions, 75 Ops.
16   Cal. Atty. Gen. at *5.
17            87.   The California Attorney General determined that a sanctuary
18   city ordinance “concerns a subject matter, immigration, wherein Federal
19   power to regulate is exclusive.” CA Attorney General Opinions, 75 Ops.
20   Cal. Atty. Gen. at *3 (citing De Canas v. Bica, 424 U.S. 351, 354-55
21   (1975)). Federal preemption occurs when the local enactment “stands as
22   an obstacle to the accomplishment and execution of the full purposes and
23   objectives of Congress.” Hines v. Davidowitz, 312 U.S. at 67.
24            88.   The California Attorney General further determined “[T]hat
25   Congress has placed great importance on the immigration detection
26
27
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          https://oag.ca.gov/system/files/opinions/pdfs/92-607.pdf
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          https://oag.ca.gov/system/files/opinions/pdfs/83-902_0.pdf

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 1   effort is evidenced by the criminal penalties which have been established
 2   for those who assist illegal aliens in escaping detection.” CA Attorney
 3   General Opinions, 75 Ops. Cal. Atty. Gen. at *5 (citing 8 U.S.C § 1324);
 4   see United States v. Rubio-Gonzales (5th Cir. 1982) 674 F.2d 1067, 1073;
 5   United States v. Cantu (5th Cir. 1977) 557 F.2d 1173, 1180; United
 6   States v. Lopez (2d Cir. 1975) 521 F.2d 437, 444; 67 Ops. Cal. Atty. Gen.
 7   at *10, n. 16.
 8            89.   The California Attorney General found the local sanctuary
 9   ordinance to be “‘an obstacle to the accomplishment and execution of the
10   full purposes and objectives of Congress.’” CA Attorney General
11   Opinions, 75 Ops. Cal. Atty. Gen. at *6 (quoting Hines v. Davidowitz, 312
12   U.S. at 67). “A direct conflict with a Federal or state statute or
13   regulation presents a separate and distinct basis for the preemption of a
14   local ordinance.” (CA Attorney General Opinions, 75 Ops. Cal. Atty. Gen.
15   at *6, n. 9 (citations omitted).29
16            90.   The Sanctuary State Law is no different than the city
17   ordinance discussed in the Attorney General’s opinion. As the Attorney
18   General has correctly opined that Federal law preempted local sanctuary
19   ordinance, that conclusion also applies to the state sanctuary law.
20   Congress intends to preempt state law over criminal immigration
21   enforcement because it “surely did not intend that state and local
22   governments would undermine the deterrent effect of the criminal or
23   civil penalties contained in the [Immigration Control Act]. By giving the
24   impression that illegal aliens may obtain refuge from such penalties in a
25   particular locale, [Sanctuary State Law] creates localized immigration
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 1   policy and dissipates enforcement of Federal laws.” CA Attorney General
 2   Opinions, 75 Ops. Cal. Atty. Gen. at *5.30
 3            D.    Obstruction Caused by the Sanctuary State Law
 4            91.   Among many things, the Sanctuary State Law’s interference
 5   with the City’s coordination with the Federal Government in order to
 6   “protect” illegal immigrants from the Federal Government’s enforcement
 7   of the U.S. Federal immigration laws as Defendants Governor Newsom
 8   and Attorney General Robert Bonta explain, amounts to “harboring” of
 9   illegal aliens by the State of California.
10            92.   The Ninth Circuit joined the Third, Fourth, and Eleventh
11   Circuit in concluding that the Federal scheme on harboring under 8
12   U.S.C. § 1324 is comprehensive and field preemptive. Valle Del Sol Inc.,
13   732 F.3d at 1025-26; see Lozano v. City of Hazleton, 724 F.3d 297, 315-16
14   (3rd Cir. 2013) (joining the Eleventh Circuit in finding that state law
15   proscribing harboring or sheltering aliens infringes upon a
16   “comprehensive statutory scheme”) (citing United States v. Alabama, 691
17   F.3d 1269, 1285-87 (11th Cir. 2012)); United States v. South Carolina,
18   906 F. Supp. 2d 463, 468 (D.S.C. 2012), aff’d, 720 F.3d 518 (11th Cir.
19   July 23, 2013).
20            93.   “INA provides a comprehensive framework to penalize the
21   transportation, concealment, and inducement of unlawfully present
22   aliens.” Under this statutory scheme (8 U.S.C. § 1324(a)(1)(A)(ii)-(iv)),
23   the “Federal government has clearly expressed more than a ‘peripheral
24   concern’ with the entry, movement, and residence of aliens within the
25   United States and the breadth of these laws illustrates an
26   overwhelmingly dominant Federal interest in the field. Georgia Latina
27
28   30
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 1   Alliance for Human Rights v. Governor of GA, 691 F.3d 1250, 1263-64
 2   (11th Cir. 2012) (GLAHR).
 3        94.   The Sanctuary State Law prohibits the cooperation between
 4   City officials, including the Huntington Beach Police personnel, and the
 5   Federal Government on Federal immigration laws enforcement.
 6        95.   Under the Supremacy Clause, any state law “which interferes
 7   with or is contrary to Federal law, must yield.” Gade v. National Solid
 8   Wastes Management Association, 505 U.S. 88, 108 (1992).
 9        96.   Similar to Arizona’s statute in Valle Del Sol, the Sanctuary
10   State Law is preempted because it prohibits Huntington Beach police
11   officers to notify Federal authorities of any unauthorized aliens in its
12   custody and violates 8 U.S.C. § 1324(a)(1)(iii) when they “knowingly or in
13   reckless disregard” “conceals, harbors, or shields from detection” in its
14   City Jail or “any means of transportation.”
15        97.   “Given the Federal primacy in the field of enforcing
16   prohibitions on the transportation, harboring, and inducement of
17   unlawfully present aliens, the prospect of 50 individual attempts to
18   regulate immigration-related matters cautions against permitting states
19   to intrude into this area of dominant Federal concern.” Valle Del Sol,
20   732 F. 3d at p. 1027 (quoting GLAHR, 691 F.3d at 1266).
21        98.   The Sanctuary State Law frustrates the Department of
22   Homeland Security’s enforcement priorities to arrest or removal
23   individuals who are a threat to national security, public safety, or
24   recently entered the United States unlawfully. In fact, the California
25   Attorney General Bonta supports DHS’s enforcement priorities to arrest
26   or remove individuals who pose risk to public safety, terrorist, or recently
27   arrived.
28


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 1           99.   City officials, including Huntington Beach Police personnel,
 2   cannot obey the Sanctuary State Law without violating 8 U.S.C, §
 3   1324(a)(1)(iii) when they have knowledge or in reckless disregard that an
 4   individual in their custody is in violation of law and are prohibited from
 5   sharing the information with the Federal authorities.
 6           100. The Orange County Sheriff, Don Barnes, is required to report
 7   annually to the Orange County Board of Supervisor on the county’s
 8   compliance with California Government Code §§ 7283 and 7283.1
 9   (“California’s Transparent Review of Unjust Transfers and Holds
10   (“TRUTH”) Act).
11           101. Sheriff Barnes stated that OCSD is prohibited by State law to
12   notify Immigration Control and Enforcement of the release of inmates
13   with ICE detainers. In 2018, 1,106 inmates who had ICE detainers but
14   did not meet eligibility for notifying ICE were released into the
15   community. 173 out of the 1,106 inmates were rearrested “in Orange
16   County for committing 58 different types of crimes, including attempted
17   murder, assault and battery, child molestation, and robbery.” (Exhibit
18   “A.”)
19           102. In 2019, OCSD released 1,015 inmates had ICE detainers into
20   the community without notifying ICE of their release because they did
21   not meet state law requirement for notification. “Of the 1,015 inmates
22   with ICE detainers who were released back into the community, 238
23   have been rearrested in Orange County for committing new crimes,
24   including assault and battery, rape, and robbery.” (Exhibit “B.”)
25           103. In 2020, OCSD released 168 inmates who had ICE detainers
26   but did not meet the state law’s requirement for notifying ICE were
27   released into the community. Out of the 168 inmates, 36 were rearrested
28   for new crimes in Orange County. (Exhibit “C.”)


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 1           104. In 2021, OCSD released 199 inmates who had ICE detainers.
 2   In compliance with state law, 143 of these 199 inmates met the state’s
 3   requirement for transfer to ICE’s custody. Only 73 out of the 143
 4   individuals were transferred to ICE’s custody. The 70 individuals who
 5   were eligible for transfer to ICE, but were not, were released into the
 6   community. A total of 24 out of the 70 individuals were re-arrested for
 7   committing new crimes in Orange County. (Exhibit “D.”)
 8           105. In 2021, there were 56 inmates who had ICE detainers but
 9   did not meet state law requirements for notifying ICE of their release.
10   Of the 56 released into the community, three were rearrested for
11   committing new crimes in Orange County. (Exhibit “D.”)
12           106. In 2022, 272 inmates were released form Orange County jail
13   had ICE detainers. OCSD notified ICE of the inmates who were eligible
14   for transfer to ICE’s custody. Of the 155 individuals who met the
15   eligibility, only 17 were transferred to ICE’s custody. The other 138
16   individuals were released into the community. A total of 20 individuals
17   were rearrested for committing new crimes in Orange County. (Exhibit
18   “E.”)
19           107. In 2022, there were 117 inmates who had ICE detainers, but
20   state law prohibited OCSD from notifying ICE. They were released into
21   the community. A total of 13 were rearrested for new crimes in Orange
22   County. (Exhibit “E.”)
23           108. In 2023, there were 547 inmates who had ICE detainers
24   released from Orange County Jail. OCSD notified ICE of the inmates
25   who were eligible for transfer to ICE’s custody under state law. About 81
26   of those inmates eligible for notification and transfer to ICE’s custody
27   were not transferred and released into the community. A total of 40
28


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 1   individuals were rearrested for committing new crimes in Orange
 2   County. (Exhibit “F.”)
 3         109. In 2023, there were 245 inmates with ICE detainers who were
 4   not eligible for notifying ICE and were released into the community. 27
 5   were rearrested for new crimes in Orange County. These crimes were
 6   robbery, carjacking, kidnapping, parole or probation violation, sales or
 7   transport of narcotics, domestic violence, assault with a deadly weapon,
 8   felony driving under the influence. (Exhibit “F.” 31)
 9         110. Huntington Beach police officers cannot comply with both
10   State and Federal laws while carrying out their duty. For example, an
11   unauthorized alien who was arrested for allegedly committing petty theft
12   and placed in city jail, the Sanctuary State Law prohibits Huntington
13   Beach Police officers from sharing with ICE or if ICE requests
14   information about the individual, Huntington Beach cannot provide
15   information about the individual, and thus, concealing, harboring or
16   shielding from detection an unauthorized alien in its “building” under 8
17   U.S.C. § 1324(a)(1)(iii). And if ICE arrives at the jail facility, Huntington
18   Beach authority must refuse assumption of custody, as mandated by the
19   Sanctuary State Law. Huntington Beach is in violation of 8 U.S.C. §
20   1324(a)(1)(iii).
21   ///
22   ///
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24
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       During his presentation to the Orange County Board of Supervisors, Sheriff
     Barnes reported that 27 inmates who were released into the community committed
27
     new crimes. Sheriff Barnes specified the types of crimes that these 27 individuals
28   committed. However, these crimes were not specified in the staff report (Exhibit
     “F”). See https://ocgov.granicus.com/player/clip/5109?view_id=8&redirect=true

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 1          111. Compliance with 8 U.S. Code, Section 1324(a)(1)(ii) is vital to
 2   stopping human smuggling. The Sanctuary State Law mandates that
 3   law enforcement does not cooperate with Federal authorities over
 4   immigration matters, including joining a task force.
 5          112. Huntington Beach, City officials, including Huntington Beach
 6   Police Department personnel are prohibited from cooperating, detaining,
 7   or investigating whether there is a potential for human trafficking. City
 8   officials, including Huntington Beach Police Department personnel, are
 9   prohibited from informing the Federal Government that an alien
10   engaged in smuggling individuals into the United States who are not
11   otherwise engaged in human trafficking for forced labor or sex services.
12          113. Under the Sanctuary State Law, Huntington Beach Police
13   Officers are prohibited from asking the immigration status of aliens
14   working for an employer. Cal. Gov. Code § 7284.6 (a)(1)(A).
15
16                          FIRST CAUSE OF ACTION
17                VIOLATION OF THE SUPREMECY CLAUSE
18          ARTICLE VI, CLAUSE 2 OF THE U.S. CONSTITUTION
19                               Title 8, U.S.C. § 1324
20                            (Against All Defendants)
21          114. Plaintiffs hereby incorporate the allegations made in each
22   preceding paragraph of this Complaint as if fully set forth herein.
23          115. The Sanctuary State Law is unconstitutional. See U.S. Const.
24   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; 8 U.S.C. §§ 1324, 1325, 1373; 18
25   U.S.C. §§ 4, 371, 372; see also Cal. Const. art. XI, § 5; Cal. Const. art. XX,
26   § 3.
27          116. The Supremacy Clause mandates that “[t]his Constitution,
28   and the Laws of the United States which shall be made in Pursuance


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 1   thereof . . . shall be the supreme Law of the Land . . . any Thing in the
 2   Constitution or Laws of any State to the Contrary notwithstanding.” U.S.
 3   Const. art. VI, cl. 2.
 4         117. The Supremacy Clause “prohibit[s] States from interfering
 5   with or controlling the operations of the Federal Government.” Geo
 6   Group, Inc., 50 F.4th at 750 (quoting United States v. Washington, 142 S.
 7   Ct. at 1984).
 8         118. The Sanctuary State Law violates the Supremacy Clause
 9   precisely because it interferes with, in fact it obstructs, the Federal
10   Government’s efforts to coordinate to enforce U.S. Federal immigration
11   laws, including but not limited to 8 U.S.C. § 1324. See Cal. Gov. Code §§
12   7282.5, 7284.4, 7284.6, 7285.1,7285.2.
13         119. Under the Sanctuary State Law, City officials, including
14   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
15   shield from detection” any alien in their custody in violation of 8 U.S.C. §
16   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
17   7285.2.
18         120. City officials, including Huntington Beach Police personnel,
19   are unable to fulfill their duty to investigate or detain individuals having
20   committed crimes without violating the Sanctuary State Law. See Cal.
21   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.)
22         121. The Sanctuary State Law prohibits local law enforcement
23   officers to cooperate with the Federal Government in criminal
24   immigration investigation. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
25   7285.1, 7285.2.
26         122. The Sanctuary State Law bars local jurisdiction from
27   complying with 8 U.S.C. § 1324 or participate in a joint task force. See
28   Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.


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 1         123. The Sanctuary State Law restricts cooperation between local
 2   law enforcement agencies and the Federal Government. See Cal. Gov.
 3   Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.)
 4         124. The Sanctuary State Law’s interference with the City’s
 5   coordination with the Federal Government in order to “protect” illegal
 6   immigrants from the Federal Government’s enforcement of the U.S.
 7   Federal immigration laws as Defendants Governor Newsom and
 8   Attorney General Robert Bonta stated, amounts to “harboring” of illegal
 9   aliens by the State of California.
10         125. City officials, including Huntington Beach Police personnel,
11   are unable to stop crime before it occurs. Instead, they must sit idly by
12   and wait for a human smuggling incident to become a human trafficking
13   situation in order to intervene and comply with California Government
14   Code §§ 7282.5, 7284.4, 7284.6.
15         126. The Sanctuary State Law is an obstacle to the City’s ability to
16   comply with U.S. Federal immigration laws. It prevents City officials,
17   including Huntington Beach Police personnel, from full, effective law
18   enforcement and obstructs the City’s ability to coordinate and cooperate
19   with Federal law enforcement agencies. As U.S. Federal immigration
20   law, according to the Supremacy Clause, is supreme, the Sanctuary State
21   Law is an unconstitutional barrier to the City’s effective law enforcement
22   efforts.
23         127. Plaintiffs have no adequate remedy at law. Absent relief,
24   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
25   impairing enjoyment of this right.
26   ///
27   ///
28   ///


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 1                          SECOND CAUSE OF ACTION
 2               VIOLATION OF THE NATURALIZATION CLAUSE
 3   ARTICLE I, SECTION 8, CLAUSE 4 OF THE U.S. CONSTITUTION
 4                                Title 8, U.S.C. § 1324
 5                             (Against All Defendants)
 6            128. Plaintiffs hereby incorporate the allegations made in each
 7   preceding paragraph of this Complaint as if fully set forth herein.
 8            129. The Sanctuary State Law is unconstitutional. See U.S. Const.
 9   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; 8 U.S.C. §§ 1324, 1325, 1373; 18
10   U.S.C. §§ 4, 371, 372; see also Cal. Const. art. XI, § 5; Cal. Const. art. XX,
11   § 3.
12            130. Article I, Section 8, Clause 4 of the U.S. Constitution provides
13   Congress with the “power… To establish a uniform Rule of
14   Naturalization… throughout the United States.” U.S. Const. art. I, § 8,
15   cl. 4.
16            131. In addition to conferring Congress with power to determine
17   when foreign nationals may obtain U.S. citizenship, the Naturalization
18   Clause is viewed as contributing to Congress’s power over immigration,
19   including its power to set rules for when aliens may enter or remain in
20   the United States.
21            132. In Arizona v. United States, 567 U.S. at 387, the Supreme
22   Court declared that the Federal Government’s “broad, undoubted power”
23   over immigration was partially based “on the national government’s
24   constitutional power to ‘establish a uniform Rule of Naturalization,’ and
25   its inherent power as sovereign to control and conduct relations with
26   foreign nations.” Id. at 394–95 (quoting U.S. Const. art. I, § 8, cl. 4).
27            133. The Sanctuary State Law violates the City’s right to fully
28   control its own Police Department and fully and effectively engage in law


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 1   enforcement. Moreover, neither the State, nor its laws, may prevent the
 2   City of Huntington Beach from honoring, following, and/or complying
 3   with State and all Federal laws, including Federal laws on immigration,
 4   which is the supreme law of the land on immigration.
 5        134. The Sanctuary State Law violates the City’s right to fully
 6   control its own Police Department and fully and effectively engage in law
 7   enforcement. Specifically, California Government Code §§ 7282.5,
 8   7284.4, 7284.6, 7285.1, and 7285.2 prohibit local law enforcement officers
 9   to cooperate with the Federal Government in criminal immigration
10   investigation.
11        135. Under the Sanctuary State Law, City officials, including
12   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
13   shield from detection” any alien in their custody in violation of 8 U.S.C.§
14   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
15   7285.2.
16        136. The Sanctuary State Law bars local jurisdiction from
17   complying with 8 U.S.C. § 1324 or participate in a joint task force. See
18   Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
19        137. California Government Code §§ 7284.4 and 7282.5 restrict
20   cooperation between local law enforcement agencies and the Federal
21   Government.
22        138. The Sanctuary State Law allows for smugglers to transport
23   individuals into the United States in violation of 8 U.S.C. § 1324 for
24   financial gain.
25        139. The Sanctuary State Law places aliens at risk of harm or
26   being trafficked because California Law Enforcement Agencies cannot
27   engage in the enforcement of 8 U.S.C. § 1324.
28


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 1        140. The Sanctuary State Law prohibits local law enforcement
 2   agencies from asking employers about a person’s immigration status
 3   under 8 U.S.C. § 1324(a)(3). Cal. Gov. Code § 7284.6(a)(1)(A).
 4        141. In recent years, Defendant Governor Gavin Newsom has
 5   taken a series of substantial steps to incentivize the inflow of illegal
 6   immigration into California, and to protect and harbor illegal
 7   immigrants, with the implementing of policies and laws to: hire illegal
 8   immigrants in jobs in State government, give illegal immigrants
 9   taxpayer funded downpayments of $150,000 to buy homes, spend $2.3
10   million of taxpayer money to support the relocating and settling of illegal
11   immigrants in rural areas of the State, give illegal immigrants home
12   mortgage aid to buy homes, newly allocating $25 million in taxpayer
13   funded legal defense fund for illegal immigrants to fight the Federal
14   government’s announced crackdown on illegal immigration, which seeks
15   to combat the violent crimes committed against U.S. citizens, and the list
16   goes on.
17        142. In addition, on December 17, 2024, Defendant Attorney
18   General Robert Bonta issued a Press Release advising illegal immigrants
19   the ways in which his office, and the State, were going to assist in
20   shielding illegal immigrants – “threats of mass detention, arrests, and
21   deportation” – from detection and detention by the Federal Government.
22   In that Press Release, Robert Bonta directly advised that “You have the
23   right to apply for and secure housing without sharing your immigration
24   status,” and “You have the right to an attorney.”
25        143. Defendant Robert Bonta has stated, “State and local law
26   enforcement cannot ask for your immigration status” and “State and
27   local law enforcement cannot share your personal information” and
28   “State and local law enforcement cannot assist ICE with immigration


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 1   enforcement.” Not only does his statement reflect a violation of Federal
 2   immigration law, his statement also indicates a systematic program by
 3   the State to shield illegal immigrants in response to “the President-elect
 4   making clear his intent to move forward an inhumane and destructive
 5   immigration agenda once he takes office.” Defendant Robert Bonta’s
 6   statements make clear that his systematic program to protect illegal
 7   immigrants conflicts with U.S. Federal immigration laws and Federal
 8   Government operations.
 9        144. “Effective immigration law enforcement requires a
10   cooperative effort between all levels of government.” City of New York v.
11   United States, 179 F.3d at 32-33.
12        145. The Sanctuary State Law violates Article I, Section 8, Clause
13   4 of the U.S. Constitution by actively obstructing the authority of the
14   Federal Government and obstructing the City’s ability to employ all laws
15   available, including U.S. Federal immigration laws, to combat crime and
16   ensure public safety by coordinating with the Federal Government to
17   deal with certain individuals committing crime and who are subject to
18   U.S. Federal immigration laws.
19        146. Plaintiffs have no adequate remedy at law. Absent relief,
20   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
21   impairing enjoyment of this right.
22
23                          THIRD CAUSE OF ACTION
24         VIOLATION OF U.S. FEDERAL IMMIGRATION LAWS
25                            TITLE 8, U.S.C. § 1324
26                           (Against All Defendants)
27        147. Plaintiffs hereby incorporate the allegations made in each
28   preceding paragraph of this Complaint as if fully set forth herein.


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 1           148. The Sanctuary State Law is unconstitutional. See U.S. Const.
 2   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; 8 U.S.C. §§ 1324, 1325, 1373; 18
 3   U.S.C. §§ 4, 371, 372; see also Cal. Const. art. XI, § 5; Cal. Const. art. XX,
 4   § 3.
 5           149. In 1986, Congress enacted the Immigration and
 6   Naturalization Act. 8 U.S.C. §§ 1101-1537. Title 8, U.S.C. § 1324 was
 7   enacted to combat human smugglers who commit the crime by “bringing
 8   people into the United States, or unlawfully transporting and harboring
 9   people already in the United States, in deliberate evasion of immigration
10   law.”
11           150. In part, 8 U.S.C. § 1324 makes it a Federal crime for any
12   person to “knowing that a person is an alien, brings to or attempts to
13   bring to the United States in any manner whatsoever such person at a
14   place other than a designated port of entry or place other than as
15   designated by the Commissioner, regardless of whether such alien has
16   received prior official authorization to come to, enter, or reside in the
17   United States and regardless of any future official action which may be
18   taken with respect to such alien.” 8 U.S.C. § 1324(a)(1)(A)(i).
19           151. Title 8, U.S.C. § 1324 also makes it a Federal crime for any
20   person to “knowing or in reckless disregard of the fact that an alien has
21   come to, entered, or remains in the United States in violation of law,
22   conceals, harbors, or shields from detection, or attempts to conceal,
23   harbor, or shield from detection, such alien in any place, including any
24   building or any means of transportation.” 8 U.S.C. § 1324(a)(1)(A)(ii).
25           152. And, 8 U.S.C. § 1324 makes it a Federal crime for any person
26   to “knowingly hires for employment at least 10 individuals with actual
27   knowledge that the individuals are aliens described in subparagraph
28   (B).” 8 U.S.C. § 1324(a)(3)(A).


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 1        153. Under the Sanctuary State Law, City officials, including
 2   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
 3   shield from detection” any alien in their custody in violation of 8 U.S.C. §
 4   1324(a)(1)(iii). See Cal. Gov. Code §§ 7284.4, 7282.5, 7284.6, 7285.1,
 5   7285.2.
 6        154. City officials, including Huntington Beach Police personnel,
 7   are unable to fulfill their duty to investigate or detain individuals having
 8   committed crimes without violating the Sanctuary State Law. See Cal.
 9   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
10        155. The Sanctuary State Law prohibits local law enforcement
11   officers to cooperate with the Federal Government in criminal
12   immigration investigation. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
13   7285.1, 7285.2.
14        156. The Sanctuary State Law bars local jurisdiction from
15   complying with 8 U.S. Code, Section 1324 or participate in a joint task
16   force. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
17        157. The Sanctuary State Law restricts cooperation between local
18   law enforcement agencies and the Federal Government. See Cal. Gov.
19   Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
20        158. The Sanctuary State Law’s interference with the City’s
21   coordination with the Federal Government in order to “protect” illegal
22   immigrants from the Federal Government’s enforcement of the U.S.
23   Federal immigration laws as Defendants Governor Newsom and
24   Attorney General Robert Bonta have declared is “harboring” of illegal
25   aliens by the State of California.
26        159. City officials, including Huntington Beach Police personnel,
27   are unable to stop crime before it occurs. Instead, they must sit idly by
28   and wait for a human smuggling incident to become a human trafficking


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 1   situation in order to intervene and comply with California Government
 2   Code §§ 7282.5, 7284.4, 7284.6.
 3          160. The Sanctuary State Law is an obstacle to the City’s ability to
 4   comply with U.S. Federal immigration laws. It prevents City officials,
 5   including Huntington Beach Police personnel, from full, effective law
 6   enforcement and obstructs the City’s ability to coordinate and cooperate
 7   with Federal law enforcement agencies. Pursuant to the Supremacy
 8   Clause, U.S. Federal immigration law is supreme, and the Sanctuary
 9   State Law is an unconstitutional barrier to the City’s effective law
10   enforcement efforts.
11          161. Plaintiffs have no adequate remedy at law. Absent relief,
12   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
13   impairing enjoyment of this right.
14
15                          FOURTH CAUSE OF ACTION
16          VIOLATION OF U.S. FEDERAL IMMIGRATION LAWS
17                             TITLE 8, U.S.C. § 1373
18                            (Against All Defendants)
19          162. Plaintiffs hereby incorporate the allegations made in each
20   preceding paragraph of this Complaint as if fully set forth herein.
21          163. The Sanctuary State Law is unconstitutional. See U.S. Const.
22   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; 8 U.S.C. §§ 1324, 1325, 1373; 18
23   U.S.C. §§ 4, 371, 372; see also Cal. Const. art. XI, § 5; Cal. Const. art. XX,
24   § 3.
25          164. Title 8, U.S.C. § 1373(a) provides, “Notwithstanding any other
26   provision of Federal, State, or local law, a Federal State, or local
27   government entity or official from sending to, or receiving from, the
28


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 1   Immigration and Naturalization Service information regarding the
 2   citizenship or immigration status, lawful or unlawful, of any individual.”
 3        165. Under the Sanctuary State Law, City officials, including
 4   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
 5   shield from detection” any alien in their custody in violation of 8 U.S.C.§
 6   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
 7   7285.2.
 8        166. The Sanctuary State Law prohibits local law enforcement
 9   officers to cooperate with the Federal Government in criminal
10   immigration investigation. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
11   7285.1, 7285.2.
12        167. The Sanctuary State Law’s interference with the City’s
13   coordination with the Federal Government in order to “protect” illegal
14   immigrants from the Federal Government’s enforcement of the Federal
15   immigration laws as Defendants Governor Newsom and Attorney
16   General Robert Bonta have declared is “harboring” of illegal aliens by the
17   State of California.
18        168. The Sanctuary State Law is an obstacle to the City’s ability to
19   comply with U.S. Federal immigration laws. It prevents City officials,
20   including Huntington Beach Police personnel, from full, effective law
21   enforcement and obstructs the City’s ability to coordinate and cooperate
22   with Federal law enforcement agencies. Pursuant to the Supremacy
23   Clause, U.S. Federal immigration law is supreme, and the Sanctuary
24   State Law is an unconstitutional barrier to the City’s effective law
25   enforcement efforts.
26        169. Plaintiffs have no adequate remedy at law. Absent relief,
27   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
28   impairing enjoyment of this right.


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 1
 2                          FIFTH CAUSE OF ACTION
 3          VIOLATION OF U.S. FEDERAL IMMIGRATION LAWS
 4                      TITLE 18, U.S.C. §§ 4, 371 AND 372
 5                            (Against All Defendants)
 6          170. Plaintiffs hereby incorporate the allegations made in each
 7   preceding paragraph of this Complaint as if fully set forth herein.
 8          171. The Sanctuary State Law is unconstitutional. See U.S. Const.
 9   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; 8 U.S.C. §§ 1324, 1325, 1373; 18
10   U.S.C. §§ 4, 371, 372; see also Cal. Const. art. XI, § 5; Cal. Const. art. XX,
11   § 3.
12          172. Title 18, U.S.C. § 4 provides, “Whoever, having knowledge of
13   the actual commission of a felony cognizable by a court of the United
14   States, conceals and does not as soon as possible make known the same
15   to some judge or other person in civil or military authority under the
16   United States, shall be fined under this title or imprisoned not more
17   than three years, or both.” 18 U.S.C. § 4.
18          173. Title 8, U.S.C. § 371 provides, “If two or more persons
19   conspire to either commit any offense against the United States, or to
20   defraud the United States, or any agency thereof in any manner or for
21   any purpose…each shall be fined under this title or imprisoned not more
22   than five years, or both.” See United States v. Tuohey, 867 F.2d 534, 536
23   (9th Cir. 1989) (“conspiracy to defraud the United States is not limited to
24   common-law fraud but reaches ‘any conspiracy for the purpose of
25   impairing, obstructing or defeating the lawful function of any
26   department of government.’ [Citation.]”).
27          174. Title 8, U.S.C. § 372 provides, “If two or more
28   persons…conspire to prevent, by force, intimidation, or threat, any


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 1   person from accepting or holding any office, trust, or place of confidence
 2   under the United States…or impede him in the discharge of his official
 3   duties, each of such persons shall be fined under this title or imprisoned
 4   not more than six years, or both.”
 5        175. Under the Sanctuary State Law, City officials, including
 6   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
 7   shield from detection” any alien in their custody in violation of 8 U.S.C. §
 8   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.6, 7284.4, 7285.1,
 9   7285.2.
10        176. City officials, including Huntington Beach Police personnel,
11   are unable to fulfill their duty to investigate or detain individuals having
12   committed crimes without violating the Sanctuary State Law. See Cal.
13   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
14        177. The Sanctuary State Law prohibits local law enforcement
15   officers to cooperate with the Federal Government in criminal
16   immigration investigation. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
17   7285.1, 7285.2.
18        178. The Sanctuary State Law bars local jurisdiction from
19   complying with 8 U.S. Code, Section 1324 or participate in a joint task
20   force. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
21        179. The Sanctuary State Law restricts cooperation between local
22   law enforcement agencies and the Federal Government. See Cal. Gov.
23   Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
24        180. The Sanctuary State Law’s interference with the City’s
25   coordination with the Federal Government in order to “protect” illegal
26   immigrants from the Federal Government’s enforcement of the U.S.
27   Federal immigration laws as Defendants Governor Newsom and
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 1   Attorney General Robert Bonta have declared is tantamount to
 2   “harboring” of illegal aliens by the State of California.
 3        181. City officials, including Huntington Beach Police personnel,
 4   are unable to stop crime before it occurs. Instead, they must sit idly by
 5   and wait for a human smuggling incident to become a human trafficking
 6   situation in order to intervene and comply with California Government
 7   Code §§ 7282.5, 7284.4, 7284.6.
 8        182. The Sanctuary State Law is an obstacle to the City’s ability to
 9   comply with U.S. Federal immigration laws. It prevents City officials,
10   including Huntington Beach Police personnel, from full, effective law
11   enforcement and obstructs the City’s ability to coordinate and cooperate
12   with Federal law enforcement agencies. Pursuant to the Supremacy
13   Clause, U.S. Federal immigration law is supreme, and the Sanctuary
14   State Law is an unconstitutional barrier to the City’s effective law
15   enforcement efforts.
16        183. Plaintiffs have no adequate remedy at law. Absent relief,
17   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
18   impairing enjoyment of this right.
19
20                          SIXTH CAUSE OF ACTION
21       AIDING AND ABETTING, ACCESSORY AFTER THE FACT
22          VIOLATION OF CALIFORNIA PENAL CODE §§ 31, 32
23                           (Against All Defendants)
24        184. Plaintiffs hereby incorporate the allegations made in each
25   preceding paragraph of this Complaint as if fully set forth herein.
26        185. California Penal Code § 31 provides, “All persons concerned in
27   the commission of a crime, whether it be felony or misdemeanor, and
28   whether they directly commit the act constituting the offense, or aid and


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 1   abet in its commission, or, not being present, have advised and
 2   encouraged its commission, and all persons counseling, advising, or
 3   encouraging children under the age of fourteen years, or persons who are
 4   mentally incapacitated, to commit any crime, or who, by fraud,
 5   contrivance, or force, occasion the drunkenness of another for the
 6   purpose of causing him to commit any crime, or who, by threats,
 7   menaces, command, or coercion, compel another to commit any crime,
 8   are principals in any crime so committed.”
 9        186. California Penal Code § 32 provides: “Every person who, after
10   a felony has been committed, harbors, conceals or aids a principal in
11   such felony, with the intent that said principal may avoid or escape from
12   arrest, trial, conviction or punishment, having knowledge that said
13   principal has committed such felony or has been charged with such
14   felony or convicted thereof, is an accessory to such felony.”
15        187. Under the Sanctuary State Law, City officials, including
16   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
17   shield from detection” any alien in their custody in violation of 8 U.S.C.
18   §1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
19   7285.2.
20        188. City officials, including Huntington Beach Police personnel,
21   are unable to fulfill their duty to investigate or detain individuals having
22   committed crimes without violating the Sanctuary State Law. See Cal.
23   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
24        189. The Sanctuary State Law prohibits local law enforcement
25   officers to cooperate with the Federal Government in criminal
26   immigration investigation. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
27   7285.1, 7285.2.
28


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 1         190. The Sanctuary State Law bars local jurisdiction from
 2   complying with 8 U.S.C. § 1324 or participate in a joint task force. See
 3   Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 4         191. The Sanctuary State Law restricts cooperation between local
 5   law enforcement agencies and the Federal Government. See Cal. Gov.
 6   Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 7         192. The Sanctuary State Law’s interference with the City’s
 8   coordination with the Federal Government in order to “protect” illegal
 9   immigrants from the Federal Government’s enforcement of the U.S.
10   Federal immigration laws as Defendants Governor Newsom and
11   Attorney General Robert Bonta have declared is “harboring” of illegal
12   aliens by the State of California and amounts to a violation of California
13   Penal Code §§ 31 and 32.
14         193. The Sanctuary State Law causes City officials, including
15   Huntington Beach Police personnel, to violate California Penal Code §§
16   31 and 32 by aiding and abetting the commission of a crime and
17   accessory after the fact in the commission of a crime, i.e., the violation of
18   U.S. Federal immigration laws, including but not limited to 8 U.S.C. §§
19   1324 and 1325.
20         194. Plaintiffs have no adequate remedy at law. Absent relief,
21   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
22   impairing enjoyment of this right.
23   ///
24   ///
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26   ///
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 1                          SEVENTH CAUSE OF ACTION
 2                     VIOLATION OF OATH OF OFFICE
 3          ARTICLE XX, § 3 OF THE CALIFORNIA CONSTITUTION
 4                            (Against All Defendants)
 5          195. Plaintiffs hereby incorporate the allegations made in each
 6   preceding paragraph of this Complaint as if fully set forth herein.
 7          196. The Sanctuary State Law is unconstitutional. See U.S. Const.
 8   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; 8 U.S.C. §§ 1324, 1325, 1373; 18
 9   U.S.C. §§ 4, 371, 372; see also Cal. Const. art. XI, § 5; Cal. Const. art. XX,
10   § 3.
11          197. Article XX, § 3 of the California Constitution provides the
12   Oath of Office that certain City officials, including elected officials and
13   police officers, are required to take in order to be fully vested with
14   authority for the office they are to assume. Cal. Const. art. XX, § 3.
15          198. The Constitutionally required Oath of Office states “I,
16   ___________, do solemnly swear (or affirm) that I will support and defend
17   the Constitution of the United States and the Constitution of the State of
18   California against all enemies, foreign and domestic; that I will bear true
19   faith and allegiance to the Constitution of the United States and the
20   Constitution of the State of California; that I take this obligation freely,
21   without any mental reservation or purpose of evasion; and that I will
22   well and faithfully discharge the duties upon which I am about to enter.”
23          199. The Sanctuary State Law forces the City’s officials, including
24   Huntington Beach Police personnel, to violate their legal obligations and
25   their Oaths of Office to the U.S Constitution, the California Constitution,
26   and U.S. Federal immigration laws in violation of the California
27   Constitution’s Oath of Office.
28


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 1        200. Under the Sanctuary State Law, City officials, including
 2   Huntington Beach Police personnel, are mandated to “conceal, harbor, or
 3   shield from detection” any alien in their custody in violation of 8 U.S.C. §
 4   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
 5   7285.2.
 6        201. City officials, including Huntington Beach Police personnel,
 7   are unable to fulfill their duty to investigate or detain individuals having
 8   committed crimes without violating the Sanctuary State Law. See Cal.
 9   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
10        202. The Sanctuary State Law prohibits local law enforcement
11   officers to cooperate with the Federal Government in criminal
12   immigration investigation. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
13   7285.1, 7285.2.
14        203. The Sanctuary State Law bars local jurisdiction from
15   complying with 8 U.S.C. § 1324 or participate in a joint task force. See
16   Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
17        204. The Sanctuary State Law restricts cooperation between local
18   law enforcement agencies and the Federal Government. See Cal. Gov.
19   Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
20        205. The Sanctuary State Law’s interference with the City’s
21   coordination with the Federal Government in order to “protect” illegal
22   immigrants from the Federal Government’s enforcement of the U.S.
23   Federal immigration laws causes City officials, including Huntington
24   Beach Police personnel, to violate the terms of their Oath of Office
25   required by the California Constitution, i.e., that they swear to “support
26   and defend the Constitution of the United States and the Constitution of
27   the State of California against all enemies, foreign and domestic; that
28   [they] will bear true faith and allegiance to the Constitution of the


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 1   United States and the Constitution of the State of California; that [they]
 2   take this obligation freely, without any mental reservation or purpose of
 3   evasion; and that [they] will well and faithfully discharge the duties
 4   upon which [they] a[re] about to enter,” causing violations of U.S.
 5   Federal immigration laws, including but not limited to 8 U.S.C. §§ 1324
 6   and 1325.
 7        206. Plaintiffs have no adequate remedy at law. Absent relief,
 8   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
 9   impairing enjoyment of this right.
10
11                            PRAYER FOR RELIEF
12   WHEREFORE, Plaintiffs pray for relief as follows:
13        1.     Preliminary and permanent injunctive relief preventing
14   Defendants from enforcing the Sanctuary State Law (SB 54), or,
15   alternatively, from enforcing the California statutes and constitutional
16   provisions upon which the Sanctuary State Law is based to the extent
17   those statutes and provisions violate the Supremacy Clause, the afore
18
     U.S. Federal immigration laws, the afore California Penal Code(s), and
19
     other provisions of the U.S. Constitution and California Constitution;
20
          2.     An order and judgment declaring that the Sanctuary State
21
     Law (SB 54), or, alternatively, the California statutes and constitutional
22
     provisions upon which the Sanctuary State Law is based, violate the
23
     Supremacy Clause, the afore U.S. Federal immigration laws, the afore
24
     California Penal Code(s), and other provisions of the U.S. Constitution
25
26   and California Constitution;

27        3.     An order and judgment declaring that the Sanctuary State
28   Law (SB 54) provides no obstacle to Huntington Beach’s cooperation with


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 1   the Federal Government and acts to comply with all U.S. Federal
 2   immigration laws, or, alternatively, the California statutes and
 3   constitutional provisions upon which AB 1955 is based, violate the
 4   Supremacy Clause, the afore U.S. Federal immigration laws, the afore
 5   California Penal Code(s), and other provisions of the U.S. Constitution
 6   and California Constitution;
 7
          4.    Reasonable attorneys’ fees and costs pursuant to 42 U.S.C. §
 8
     1988 and other applicable laws; and
 9
          5.    Such other and further relief as the Court may deem just and
10
     proper.
11
12
     DATED: January 7, 2025               MICHAEL E. GATES, City Attorney
13
14
                                    By:       /s/ Michael E. Gates        .
15
                                          Michael E. Gates, City Attorney
16                                        Attorney for Plaintiffs
17                                        CITY OF HUNTINGTON BEACH,
                                          HUNTINGTON BEACH CITY
18
                                          COUNCIL, HUNTINGTON BEACH
19                                        POLICE DEPARTMENT, and the
20                                        HUNTINGTON BEACH POLICE
                                          CHIEF
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 1                          DEMAND FOR JURY TRIAL
 2
 3        Plaintiffs, CITY OF HUNTINGTON BEACH, HUNTINGTON
 4   BEACH CITY COUNCIL, HUNTINGTON BEACH POLICE
 5   DEPARTMENT, and the HUNTINGTON BEACH POLICE CHIEF
 6   hereby demand trial by jury in the above-entitled action pursuant to
 7   Federal Rules of Civil Procedure 38(b) and Local Rule 38-1.
 8
 9   DATED: January 7, 2025               MICHAEL E. GATES, City Attorney
10
11                                  By:       /s/ Michael E. Gates        .
12                                        Michael E. Gates, City Attorney
                                          Attorney for Plaintiffs
13                                        CITY OF HUNTINGTON BEACH,
14                                        HUNTINGTON BEACH CITY
15                                        COUNCIL, HUNTINGTON BEACH
                                          POLICE DEPARTMENT, and the
16                                        HUNTINGTON BEACH POLICE
17                                        CHIEF
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